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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:

  SEDRINE KENYA N. CATERSON,

                 Plaintiff,
  v.

  TRAVEL RESOURCE VACATION CLUB
  “INC”, LAWRENCE V. GIBBONS, JR.,

              Defendants.
  __________________________________/

                                            COMPLAINT
                                        {Jury Trial Demanded}

         Plaintiff, SEDRINE KENYA N. CATERSON, brings this action against Defendants,

  TRAVEL RESOURCE VACATION CLUB “INC” and LAWRENCE V. GIBBONS, JR., pursuant

  to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and alleges as follows:

  1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

  2.     At all times material hereto, Plaintiff SEDRINE KENYA N. CATERSON was a resident

  of the State of Florida and an “employee” of Defendants as defined by the FLSA.

  3.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

  recurring basis within the meaning of the FLSA including but not limited to interstate telephone

  communication with customers throughout U.S. and Canada.

  4.     At all times material hereto, Defendant, TRAVEL RESOURCE VACATION CLUB “INC”,

  was a Florida corporation with its principal place of business in South Florida, engaged in

  commerce in the field of selling vacations and travel, at all times material hereto was the

  “employer” of Plaintiff as that term is defined under statutes referenced herein, engaged along with
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  its employees in interstate commerce, and has annual gross sales and/or business volume of

  $500,000 or more.

  5.     Defendant, LAWRENCE V. GIBBONS, JR., is a resident of Broward County, Florida and

  was, and now is, a manager of Defendant, TRAVEL RESOURCE VACATION CLUB “INC”,

  controlled Plaintiff’s duties, hours worked, and compensation, and managed the day-to-day

  operations of TRAVEL RESOURCE VACATION CLUB “INC”. Accordingly, LAWRENCE V.

  GIBBONS, JR. was and is an “employer” of the Plaintiff within the meaning of 29 U.S.C. §203(d).

  6.     Two or more of Defendants’ employees handled tools, supplies, and equipment

  manfuactured outside Florida in furthernace of their business including but not limited to phones,

  computers, computer monitors, computer keyboards, computer mice, pens, and paper.

  7.     Plaintiff SEDRINE KENYA N. CATERSON worked for Defendants as a sales

  representative.

  8.     Defendants failed to pay Plaintiff’s full and proper minimum wages for certain hours

  worked during Plaintiff’s employment.

  9.     Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

  change as Plaintiff engages in the discovery process.

  10.    Defendants knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

  11.    Plaintiff complied with all conditions precedent to bringing this suit, or same have been

  waived or abandoned.

  12.    Plaintiff retained the services of the undersigned and is obligated to pay for the legal

  services provided.
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                                      COUNT I
                  VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                 ALL DEFENDANTS

  13.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-12 above as if

  set forth herein in full.

  14.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

  that Plaintiff is entitled to: (i) unpaid minimum wages and (ii) liquidated damages pursuant to the

  Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

  15.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

  and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

          WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

  costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                                Respectfully submitted,

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